                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA
                                                       No. 3:22-CR-118
         v.
                                                       Judge Varlan
 EDWARD KELLEY


                MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL

       The United States of America, by and through the United States Attorney for the Eastern

District of Tennessee, hereby requests that the proposed document and attachments in the above-

referenced matter be sealed due to the nature of the material contained therein. The proposed

document relates to material that was previously sealed by the Court. In the event future

circumstances warrant unsealing, the United States respectfully requests an opportunity to propose

redactions for the Court’s consideration.

       Wherefore, the United States of America respectfully requests that the proposed document as

to the above-referenced defendant be sealed with the exception that the United States Attorney’s

Office will provide a copy to counsel for the defendant.

       Respectfully submitted on February 28, 2025.

                                                     FRANCIS M. HAMILTON III
                                                     UNITED STATES ATTORNEY

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